813 F.2d 1228Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Henry (Hank) R. JACOBUS, Plaintiff-Appellant,v.David HEYDINGER, Commissioner, West Virginia Department ofHealth;  Barbara Martin, Administrator, West VirginiaSpencer Hospital;  Arch A. Moore, Jr., Governor, State ofWest Virginia, Defendants-Appellees,
    No. 86-3619.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 21, 1986.Decided March 2, 1987.
    
      Before RUSSELL, WIDENER and WILKINSON, Circuit Judges.
      Henry (Hank) R. Jacobus, appellant pro se.
      Janet Frye Steele, Office of the Attorney General of West Virginia, for appellees.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.    Jacobus v. Heydinger, C/A No. 85-1316 (S.D.W.V., Sept. 15, 1986).
    
    
      2
      AFFIRMED.
    
    